Case 4:18-cv-00023-AWA-LRL Document 1 Filed 02/28/18 Page 1 of 12 PageID# 1




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                          NEWPORT NEWS DIVISION

KEITH CARROLL,                                      )
                                                    )
       Plaintiff,                                   )
                                                    )    Case No: 4:18cv23
v.                                                  )
                                                    )
                                                    )
KINGSMILL RESORT,                                   )
                                                    )
Serve: Chief Executive/Manager                      )
       In His/Her Official Capacity                 )
       Kingsmill Resort Headquarters                )
       1010 Kingsmill Road                          )
       Williamsburg, VA 23185                       )
                                                    )
       Defendant.                                   )

                                     COMPLAINT

       The above-named Plaintiff, Keith Carroll, by counsel, states as his Complaint

against Defendant Kingsmill Resort (“Defendant”), the following:

                                   I. JURISDICTION

       1.     This Court has subject matter jurisdiction of this action pursuant to 28

U.S.C. § 1331 and 42 U.S.C. § 12188, for Plaintiff’s claims arising under the Americans

with Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12181 et seq.

       2.     Venue is proper in this jurisdiction pursuant to 28 U.S.C. § 1391(b)(1)-

(3) because Defendant’s principal place of business is in this District, a substantial

part of the events or omissions giving rise to Plaintiff’s claim occurred in this District,

and Defendant is subject to personal jurisdiction in this District.
Case 4:18-cv-00023-AWA-LRL Document 1 Filed 02/28/18 Page 2 of 12 PageID# 2




                                  II. THE PARTIES

      3.     Plaintiff is an adult resident of this District. Plaintiff is permanently

blind and uses a screen reader in order to access the internet and read website

content, and thus qualifies as an individual with disability as defined by the ADA, 42

U.S.C. § 12102(2), 28 C.F.R. 36.104. Despite several attempts to use and navigate

Defendant’s website, www.kingsmill.com, Plaintiff has been denied the full use and

enjoyment of the facilities, services, privileges, advantages, and accommodations of

kingsmill.com as a result of accessibility barriers on kingsmill.com.      The access

barriers on kingsmill.com have caused a denial of Plaintiff’s full and equal access

multiple times.   Similarly, the access barriers on kingsmill.com have deterred

Plaintiff from using Defendant’s online services, privileges, advantages, and

accommodations and likewise visiting Defendant’s Kingsmill Resort location in

Williamsburg, Virginia.

      4.     Plaintiff is informed and believes, and thereon alleges, that Defendant is

a business entity with its principal place of business located in Williamsburg,

Virginia. Plaintiff is informed and believes, and thereon alleges, that Defendant owns

and operates the Kingsmill Resort in Virginia.       The Kingsmill Resort location

constitutes a place of public accommodation. Defendant’s location provides to the

public important goods and/or services, privileges, advantages, and accommodations.

Defendant also provides to the public the kingsmill.com website. Kingsmill.com


                                          2
Case 4:18-cv-00023-AWA-LRL Document 1 Filed 02/28/18 Page 3 of 12 PageID# 3




provides access to Defendant’s array of services, privileges, advantages, and

accommodations, including, but not limited to, a locator for Defendant’s location so

that a potential customer may determine from the website whether to visit the

location, descriptions of its types of resort and restaurant services, including for such

special events as wedding and meetings, other pages that enable users to determine

Defendant’s products and services, privileges, advantages, and accommodations, and

many other benefits related to Defendant’s facilities and services, privileges,

advantages, and accommodations. Defendant’s location is a public accommodation

within the definition of Title III of the Americans with Disabilities Act of 1990

(“ADA”), 42 U.S.C. § 12181(7). Based on the information, services, tools, and locator

related to Defendant’s location provided on Defendant’s website, kingsmill.com is a

service, privilege, advantage, and accommodation of Defendant’s location.

Additionally, based thereon, kingsmill.com is a service, privilege, advantage, and

accommodation that is heavily integrated with this location.

       5.     At all times relevant to the Complaint, Defendant was acting through its

agents, servants and/or employees.


                            III. FACTUAL BACKGROUND

                  Applicability of the ADA to Commercial Websites

       6.     The internet has become a significant source of information, a portal

and tool for conducting business, and a means for doing everyday activities such as

                                           3
Case 4:18-cv-00023-AWA-LRL Document 1 Filed 02/28/18 Page 4 of 12 PageID# 4




shopping, banking, etc. for both the sighted and blind, and/or visually-impaired

persons.

      7.     Blind individuals may access websites by using keyboards in

conjunction with screen-reading software that vocalizes visual information on a

computer screen. Screen access software provides the only method by which a blind

person may independently access the internet. Unless websites are designed to be

read by screen reading software, blind persons are unable to fully access websites and

the information, products and services, privileges, advantages, and accommodations

contained thereon.

      8.     The international website standards organization, W3C, has published

version 2.0 of the Web Content Accessibility Guidelines (“WCAG 2.0”). WCAG 2.0

are well-established guidelines for ensuring websites are accessible to blind and

visually-impaired people. These guidelines are successfully followed by numerous

large business entities to ensure their websites are accessible.     These guidelines

recommend several basic components for making websites accessible including, but

not limited to:   adding invisible alternative text to graphics; ensuring that all

functions can be performed using a keyboard and not just a mouse; ensuring that

image maps are accessible; and adding headings so that blind people can easily

navigate websites. Without these very basic components, a website will be

inaccessible to a blind or visually-impaired person using a screen reader.

      9.     Within this context, numerous federal courts have recognized the

viability of ADA claims against commercial website owners/operators with regard to
                                           4
Case 4:18-cv-00023-AWA-LRL Document 1 Filed 02/28/18 Page 5 of 12 PageID# 5




the accessibility of such websites.

    The Inaccessibility of Defendant’s Website to the Visually-Impaired

         10.   Defendant offers the commercial website, kingsmill.com, which

provides, as set forth above, a breadth of information concerning the location it

operates, information and descriptions of its amenities and services, privileges,

advantages, and accommodations, and allows users to find the location for them to

visit.   Robles v. Yum! Brands, Inc., Case No 2:16-cv-08211-ODW(SS), 2018 WL

566781, at *8 (C.D. Cal. Jan. 24, 2018) (denying defendant’s motion for summary

judgment), Rios v. New York & Co., Inc., No. 2:17-cv-04676-ODW(AGRx), 2017 WL

5564530, at *7 (C.D. Cal. Nov. 16, 2017) (denying defendant’s motion for judgment

on the pleadings); Access Now, Inc. v. Blue Apron, LLC, No. 17-cv-116-JL, 2017 WL

5186354, at *11 (D.N.H. Nov. 8, 2017) (Laplante, C.J.) (denying motion to dismiss);

Andrews v. Blick Art Materials, LLC, 268 F. Supp. 3d 381, 404 (E.D.N.Y. 2017)

(Weinstein, J.) (denying motion to dismiss); Gil v. Winn-Dixie Stores, Inc., 257 F.

Supp. 3d 1340, 1349 (S.D. Fla. 2017) (finding that the defendant, a large supermarket

chain, had violated the plaintiff’s rights under the ADA by failing to maintain an

accessible website after a non-jury trial).

         11.   Based on information and belief, it is Defendant’s policy and practice to

deny blind users, including Plaintiff, equal enjoyment of and access to kingsmill.com.

Due to Defendant’s failure and refusal to remove access barriers on kingsmill.com,

Plaintiff and other blind and visually impaired individuals have been denied equal

enjoyment of and access to Defendant’s location and to the other services,
                                              5
Case 4:18-cv-00023-AWA-LRL Document 1 Filed 02/28/18 Page 6 of 12 PageID# 6




advantages, privileges, and accommodations offered to the public through

kingsmill.com.

       12.    Defendant denies blind individuals equal enjoyment of and access to

the services, privileges, advantages, and accommodations and information made

available through kingsmill.com by preventing them from freely navigating

kingsmill.com. Kingsmill.com contains access barriers that prevent the full and equal

enjoyment and use by Plaintiff and other blind persons using screen reading

software.

       13.    Kingsmill.com’s barriers are pervasive and include, but are not limited

to, the following:

       (1) Missing alternative text which presents a problem because an image

without alternative text results in an empty link. Alternative Text is invisible code

embedded beneath a graphical image on a website. Web accessibility requires that

Alternative Text be coded with each picture so that a screen reader can speak the

Alternative Text where a sighted user sees pictures. Alternative Text does not change

the visual presentation, but instead a text box will pop-up when the mouse moves

over the picture. The lack of Alternative Text on these graphics prevents screen

readers from accurately vocalizing a description of the graphics. As a result, visually-

impaired Kingsmill Resort customers are unable to determine what is on the website,

browse the site, look for the Kingsmill Resort location, check out Defendant’s

amenities, and/or determine whether to visit the location;

       (2) Empty or missing form labels which present a problem because if a form
                                           6
Case 4:18-cv-00023-AWA-LRL Document 1 Filed 02/28/18 Page 7 of 12 PageID# 7




control does not have a properly associated text label, the function or purpose of that

form control may not be presented to screen reader users. Form labels provide visible

descriptions and larger clickable targets for form controls; and

       (3) Redundant Links where adjacent links go to the same URL address which

results in additional navigation and repetition for keyboard and screen reader users.

       14.    Due to the inaccessibility of kingsmill.com, blind and otherwise visually

impaired customers who use screen readers have been hindered from effectively

browsing for Defendant’s location, amenities and services, privileges, advantages, and

accommodations that exist online unlike sighted users.          If kingsmill.com were

accessible, Plaintiff would independently and privately investigate Defendant’s

services, privileges, advantages, and accommodations and amenities, and found the

location to visit via Defendant’s website as sighted individuals can and do.

       15.    Despite several attempts to use kingsmill.com in recent months, the

numerous access barriers contained on Defendant’s website have denied Plaintiff’s

full and equal access, and deterred Plaintiff on a regular basis from accessing

Defendant’s website. Similarly, based on the numerous access barriers contained on

kingsmill.com, Plaintiff has been deterred from visiting Defendant’s physical location

that Plaintiff would have located and visited by using kingsmill.com.

  COUNT I: Violations of the Americans with Disabilities Act, 42 U.S.C. §

                                     12181 et seq.

       16.    Plaintiff incorporates by this reference the allegations contained in the

preceding paragraphs as if fully set forth herein.
                                            7
Case 4:18-cv-00023-AWA-LRL Document 1 Filed 02/28/18 Page 8 of 12 PageID# 8




      17.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq.,

provides: “No individual shall be discriminated against on the basis of disability in

the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

or accommodations of any place of public accommodation by any person who owns,

leases (or leases to), or operates a place of public accommodation.” 42 U.S.C. §

12182(a).

      18.    Under Section 302(b)(2) of Title III of the ADA, unlawful

discrimination also includes, among other things: “a failure to make reasonable

modifications in policies, practices, or procedures, when such modifications are

necessary to afford such goods, services, facilities, privileges, advantages, or

accommodations to individuals with disabilities, unless the entity can demonstrate

that making such modifications would fundamentally alter the nature of such goods,

services, facilities, privileges, advantages or accommodations”; and “a failure to take

such steps as may be necessary to ensure that no individual with a disability is

excluded, denied services, segregated or otherwise treated differently than other

individuals because of the absence of auxiliary aids and services, unless the entity can

demonstrate that taking such steps would fundamentally alter the nature of the good,

service, facility, privilege, advantage, or accommodation being offered or would result

in an undue burden”. 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii). “A public accommodation

shall take those steps that may be necessary to ensure that no individual with a

disability is excluded, denied services, segregated or otherwise treated differently

than other individuals because of the absence of auxiliary aids and services, unless
                                           8
Case 4:18-cv-00023-AWA-LRL Document 1 Filed 02/28/18 Page 9 of 12 PageID# 9




the public accommodation can demonstrate that taking those steps would

fundamentally alter the nature of the goods, services, facilities, privileges,

advantages, or accommodations being offered or would result in an undue burden,

i.e., significant difficulty or expense.” 28 C.F.R. § 36.303(a). In order to be effective,

auxiliary aids and services must be provided in accessible formats, in a timely

manner, and in such a way as to protect the privacy and independence of the

individual with a disability.” 28 C.F.R. § 36.303(c)(1)(ii). “The term ‘auxiliary aids

and services’ includes [] screen reader software.” 28 C.F.R. § 36.303(b)(2)

(emphasis added).

       19.    Defendant’s location is a “public accommodation” within the meaning

of 42 U.S.C. § 12181 et seq. Defendant generates millions of dollars in revenue from

the sale of its amenities and services, privileges, advantages, and accommodations in

Virginia through its location and related services, privileges, advantages, and

accommodations and kingsmill.com. Kingsmill.com is a service, privilege, advantage,

and accommodation provided by Defendant that is inaccessible to patrons who are

visually-impaired like Plaintiff. This inaccessibility denies visually-impaired patrons

full and equal enjoyment of and access to the facilities and services, privileges,

advantages, and accommodations that Defendant made available to the non-disabled

public through its website. Defendant violates the Americans with Disabilities Act, 42

U.S.C. § 12181 et seq., in that Defendant denies visually-impaired customers the

services, privileges, advantages, and accommodations provided by kingsmill.com and

connected to its places of public accommodation. These violations are ongoing.
                                            9
Case 4:18-cv-00023-AWA-LRL Document 1 Filed 02/28/18 Page 10 of 12 PageID# 10




        20.    Defendant’s actions constitute discrimination against Plaintiff on the

 basis of a disability in violation of the Americans with Disabilities Act, 42 U.S.C. §

 12181 et seq. in that: Defendant has constructed a website that is inaccessible to

 Plaintiff; maintains the website in this inaccessible form; and has failed to take

 adequate actions to correct these barriers even after being notified of the

 discrimination that such barriers cause.

        21.    Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights

 set forth and incorporated therein, Plaintiff requests relief as set forth below.


    WHEREFORE, Plaintiff Keith Carroll prays that this Honorable Court grant the

 following remedies:

        1.     For a judgment that Defendant violated Plaintiff’s rights under the

 Americans With Disabilities Act, 42 U.S.C. § 12181 et seq.

        2.     For preliminary and permanent injunctive relief pursuant to 42 U.S.C. §

 12188(a)(1) and (2), requiring Defendant to:

               a.      ensure that its website, kingsmill.com, is easily accessible by

        individuals who are visually-impaired and who use computers, including

        laptops, tablets, and smartphones;

               b.      ensure that individuals who are visually-impaired have an equal

        opportunity to participate in and benefit from the goods, services, facilities,

        privileges, advantages, and accommodations provided through its website;

               c.      adopt and implement website accessibility policies which ensure

                                             10
Case 4:18-cv-00023-AWA-LRL Document 1 Filed 02/28/18 Page 11 of 12 PageID# 11




       that its website is fully and equally accessible to the visually-impaired;

              d.     require any third party vendors who participate on its website

       ensure that it is fully and equally accessible to the visually-impaired;

              e.     make publicly available, and provide a direct link on the

       homepage of its website, to a statement of Accessibility Policy to ensure that

       the visually-impaired have full and equal enjoyment of its website;

              f.     provide quarterly mandatory website accessibility training to all

       employees who write or develop programs or code for, or who publish final

       content to, its website, as to how to conform all web content and services with

       criteria to ensure that the visually-impaired have full and equal enjoyment of

       its website; and

              g.     conduct quarterly automated accessibility test of its website to

       identify any instances where the website is no longer in conformance with

       criteria that ensures that the visually-impaired have full and equal enjoyment

       of its website;

       3.     For attorneys’ fees and expenses;

       4.     For costs of suit; and

       5.     A judgment for all such other relief as this Court deems just and proper.


                                   Respectfully submitted,

                                   /s/ Thomas E. Strelka
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                                           11
Case 4:18-cv-00023-AWA-LRL Document 1 Filed 02/28/18 Page 12 of 12 PageID# 12




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                                     12
